     Case 3:12-cr-04778-W   Document 23   Filed 12/03/12   PageID.40   Page 1 of 1



                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,

                      Plaintiff,
              vs.                          JUDGMENT OF DISMISSAL
MARIA LUISA CONTRERAS (2),

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice; or

    the Court has dismissed the case for unnecessary delay; or

~   the Court has granted the motion of the Government for dismissal,
    without prejudice; or

    the Court has granted the motion of the defendant for a judgment of
    acquittal; or

    a jury has been waived, and the Court has found the defendant not
    guilty; or

    the jury has returned its verdict, finding the defendant not guilty;

~    of the offense(s) as charged in the Indictment:

     21 USC 841(a) (1) - POSSESSION OF COCAINE WITH INTENT TO DISTRIBUTE;

     18 USC 2 - AIDING AND ABETTING

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 12/03/12
                                           Thomas J.    Ian
                                           U.S. District Judge
